                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

TENNESSEE STATE CONFERENCE OF THE )
N.A.A.C.P., et al.,                      )
                                         )
       Plaintiffs,                       )
                                         )
v.                                       )                 Case No. 3:19-cv-00365
                                         )                 Judge Aleta A. Trauger
TRE HARGETT, in his official capacity as )
Secretary of State of Tennessee, et al., )
                                         )
       Defendants.                       )
                                         )
                                         )
LEAGUE OF WOMEN VOTERS, et al.,          )
                                         )
       Plaintiffs,                       )
                                         )
v.                                       )                 Case No. 3:19-cv-00385
                                         )
TRE HARGETT, in his official capacity as )
Secretary of State of Tennessee, et al., )
                                         )
       Defendants.                       )


                                   NOTICE OF APPEAL


       Defendants, Tre Hargett, in his official capacity as secretary of State of the State of

Tennessee, Mark Goins, in his official capacity as Coordinator of Elections for the State of

Tennessee, the State Election Commission, and Donna Barrett, Judy Blackburn, Greg Duckett,

Mike McDonald, Jimmy Wallace, Tom Wheeler and Kent Younce, in their official capacities as

members of the State Election Commission, give notice of their appeal to the United States Court

of Appeals for the Sixth Circuit from this Court’s September 28, 2021 Memorandum and Order




Case 3:19-cv-00365        Document 118       Filed 10/25/21     Page 1 of 4 PageID #: 1861
awarding the League Plaintiffs $345,286.66 in attorneys’ fees and the NAACP Plaintiffs

$440,803.20 in attorneys’ fees. See DE 116 and 117.



                                           Respectfully submitted,
                                           HERBERT H. SLATERY III
                                           Attorney General and Reporter

                                           /s/ Janet M. Kleinfelter
                                           JANET M. KLEINFELTER (BPR #13889)
                                           Deputy Attorney General
                                           Janet.kleinfelter@ag.tn.gov

                                           ANDREW B. CAMPBELL (BPR #14258)
                                           Senior Assistant Attorney General
                                           Andrew.campbell@ag.tn.gov

                                           ALEXANDER S. RIEGER (BPR #029362)
                                           Assistant Attorney General
                                           Alex.rieger@ag.tn.gov

                                           MATTHEW D. CLOUTIER (BPR #036710)
                                           Assistant Attorney General
                                           Matt.cloutier@ag.tn.gov

                                           Office of the Tennessee Attorney General
                                           Public Interest Division
                                           P.O. Box 20207
                                           Nashville, TN 37202
                                           (615) 741-7403

                                           Attorneys for Defendants




                                              2

Case 3:19-cv-00365       Document 118       Filed 10/25/21     Page 2 of 4 PageID #: 1862
                                 CERTIFICATE OF SERVICE
        I hereby certify that a true and exact copy of the foregoing documents have been forwarded
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to the parties named below. Parties may access this filing through the Court’s electronic filing
system.

 Thomas H. Catelli, Esq.                              Ezra D. Rosenberg, Esq.
 ACLU Foundation of Tennessee                         Jon Greenbaum, Esq.
 P.O. Box 120160                                      Julie Houk, Esq.
 Nashville, Tennessee 37212                           Pooja Chaudhuri, Esq.
                                                      Lawyers Committee for Civil Rights
 Sophia Lin Lakin, Esq.                                      Under the Law
 American Civil Liberties Union Foundation            1500 K Street, NW, Suite 900
 125 Broad Street, 18th Floor                         Washington, D.C. 20005
 New York, New York 10004
                                                      Ira M. Feinberg, Esq.
 Sarah Brannon, Esq.                                  Hogan Lovells US, LLP
 Theresa J. Lee, Esq.                                 390 Madison Avenue
 Davin Rosborough, Esq.                               New York, New York 10017
 Dale E. Ho, Esq.
 American Civil Liberties Union Foundation            Allison M. Ryan, Esq.
 915 15th Street, 6th Floor                           Carolyn A. Delone, Esq.
 Washington, D.C. 20005                               Kyle M. Druding, Esq.
                                                      Hogan Lovells, US, LLP
 Danielle Lang, Esq.                                  555 Thirteenth Street, NW
 Molly Danahy, Esq.                                   Washington, D.C. 20004-1109
 Campaign Legal Center
 1101 14th Street, NW Suite 400                       Yael Bromberg, Esq.
 Washington, D.C. 20005                               Bromberg Law LLC
                                                      The Andrew Goodman Foundation
 Michelle Kanter Cohen, Esq.                          10 Mountainview Road
 Cecilia Aguilera, Esq.                               Upper Saddle River, New Jersey 07458
 Jon Sherman, Esq.
 Fair Elections Center                                Taylor A. Cates
 1825 K Street, NW, Suite 450                         Burch, Porter & Johnson, PLLC
 Washington, D.C. 20006                               130 N. Court Avenue
                                                      Memphis, Tennessee 38103
 William H. Harbison, Esq.
 C. Dewey Branstetter, Jr., Esq.
 Hunter C. Branstetter, Esq.
 Sherrard Roe Voight & Harbison
 150 3rd Avenue, South, Suite 1100
 Nashville, Tennessee 37301

                                                  3

Case 3:19-cv-00365          Document 118         Filed 10/25/21      Page 3 of 4 PageID #: 1863
Date: October 25, 2021

                                             /s/ Janet M. Kleinfelter
                                             JANET M. KLEINFELTER
                                             Deputy Attorney General




                                         4

Case 3:19-cv-00365       Document 118   Filed 10/25/21   Page 4 of 4 PageID #: 1864
